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                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

 CARTER PAGE,
                             Plaintiff,
 v.
 DEMOCRATIC NATIONAL                               Case No. CIV-18-1019-HE
 COMMITTEE; PERKINS COIE LLP;
 MARC ELIAS; AND MICHAEL
 SUSSMANN,
                             Defendants.



      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO AMEND

       In a thorough and well-reasoned decision, this Court dismissed Plaintiff Carter

Page’s Complaint on January 31, 2019 based on his failure to establish personal jurisdiction

over any of the Defendants. Order (Doc. No. 29). Further, although the Court did not

specifically rule on the issue of subject-matter jurisdiction or the merits of Plaintiff’s

allegations, the Court observed that the existence of either diversity or federal-question

jurisdiction was—at best—“doubtful.” Id. at 5 n.1 (noting that Plaintiff disclaims any

present state citizenship, and deeming it “doubtful whether [Plaintiff] ha[d] stated a

colorable federal claim”).

       This Court’s ruling was correct and final, and there is no reason to revisit it. In his

Motion to Amend, filed four weeks after this Court’s dismissal Order, Plaintiff asserts that

“alteration and amendment” of the Court’s Order “is appropriate given the clarification of

supplemental authorities provided by the Plaintiff that help to confirm this Court’s specific

personal jurisdiction.” Pl.’s Mot. to Alter Judgment Granting Defs.’ Mot. to Dismiss (Doc.

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No. 33) (“Mot.”) at 1. But Plaintiff has not identified any error—let alone “clear error”—

in the Court’s prior analysis, nor cited any new law or evidence undermining the Court’s

decision. Rather, Plaintiff regurgitates the same flawed assertions that this Court already

rejected, and cites his continued stream of irrelevant “supplemental authority”—

comprising extrinsic fact materials outside his now-dismissed Complaint—to suggest the

Court somehow got it wrong. Plaintiff’s motion should be denied.

I.     PLAINTIFF HAS NOT ESTABLISHED ANY BASIS FOR THE EXCEPTIONAL
       REMEDY OF RECONSIDERATION

       Plaintiff purports to invoke Rules 52(b) and 59(e) in support of his request for

reconsideration of the Court’s January 31 Order. As an initial matter, Rule 52(b) “applies

only to cases in which a district court issues factual findings following a trial on the merits,”

Trentadue v. Integrity Comm., 501 F.3d 1215, 1237 (10th Cir. 2007), and therefore is

inapplicable to the Court’s Rule 12 dismissal on the pleadings.

       Rule 59(e) is equally inapposite. “A Rule 59(e) motion to reconsider is designed to

permit relief in extraordinary circumstances and not to offer a second bite at the proverbial

apple.” Syntroleum Corp. v. Fletcher Int’l, Ltd., 2009 WL 761322, at *1 (N.D. Okla. Mar.

19, 2009) (citation omitted). Specifically, the narrow “[g]rounds for granting a Rule 59(e)

motion include (1) an intervening change in the controlling law, (2) new evidence

previously unavailable, and (3) the need to correct clear error or prevent manifest

injustice.” Monge v. RG Petro-Mach. (Grp.) Co., 701 F.3d 598, 611 (10th Cir. 2012).

Accordingly, reconsideration is “not available to allow a party merely to reargue an issue

previously addressed by the court when the reargument merely advances new arguments


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or supporting facts which were available for presentation at the time of the original

argument.” FDIC v. United Pac. Ins. Co., 152 F.3d 1266, 1272 (10th Cir. 1998) (citation

omitted).

       Here, Plaintiff’s Motion is nothing more than a last-ditch effort to re-litigate the

same jurisdictional arguments this Court considered and rejected in its Order. Plaintiff

asserts, for example, that Defendants’ vaguely-defined “offenses allegedly led to abuse of

process in the U.S. Foreign Intelligence Surveillance Court,” and that “[t]he brunt of these

injuries were felt in Oklahoma.” Mot. at 8. But Plaintiff advanced the exact same argument

before. See Pl.’s Opp’n to Defs.’ Mot. to Dismiss (Doc. No. 22) at 12-15 (arguing that

“[p]ersonal jurisdiction in this case is readily self-evident” given allegations of “[t]he

Defendants’ direct role in initiating the primary basis for Abuse of Process in the U.S.

Foreign Intelligence Surveillance Court” and “[t]he life-threatening damages suffered by

the Plaintiff at his principal place of business in Oklahoma”). And this Court properly

rejected that argument the first time around. Concluding that Plaintiff had failed to “make

even a prima facie showing of a basis for specific jurisdiction over” any Defendant, the

Court observed:

       Plaintiff does not offer any facts which suggest that defendants’ alleged acts
       were purposefully directed at the State of Oklahoma or that their suit-related
       conduct had a substantial connection with Oklahoma. Rather, the complaint
       and plaintiff’s related submissions indicate the alleged conduct took place
       elsewhere. Plaintiff alleges that he owns a corporation based in Oklahoma,
       but there is no plausible basis alleged for concluding that defendants alleged
       actions were somehow directed at that corporation or plaintiff’s interest in it,
       or that defendants even knew of its existence.

Order at 4.


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       In short, Plaintiff comes nowhere close—and indeed does not even attempt—to

identify the sort of “clear error” or “change in the controlling law” that would justify

reconsideration of the Court’s decision.        See Mot. at 5 (arguing merely that “facts

previously presented by the Plaintiff to the Court” should have been sufficient to support

personal jurisdiction).1

II.    PLAINTIFF’S SECOND AND THIRD “SUPPLEMENTAL AUTHORITY”
       SUBMISSIONS ARE IMPROPER AND IRRELEVANT

       By the same token, this Court should disregard Plaintiff’s second and third

purported “Notice[s] of Supplemental Authority” (Doc. Nos. 31 & 34). Plaintiff’s attempt

to continue making supplemental submissions in support of a motion that was already

decided is flatly improper. See LCvR 7.1(m) (noting that submissions of supplemental

authority serve a narrow purpose, and are permissible only to alert the Court to “authority

directly relevant to an issue raised in a pending motion” (emphasis added)).2 Moreover,

for the reasons explained in Defendants’ motion to strike Plaintiff’s first supplemental


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  To the extent Plaintiff is accusing the Court of not addressing each and every one of his
scattershot arguments and submissions in its ruling, see Mot. at 4 (suggesting that
Plaintiff’s so-called “Supplemental Authorities Part 1” was “apparently not considered in”
the Court’s dismissal decision), he is misguided. “Typically, a court’s order recites only
those facts and arguments deemed relevant to the issues placed before it and necessary to
the analysis of those issues. It is not . . . logical to infer that simply where the court did not
outline all the exhibits and arguments set forth by plaintiff that such exhibits and arguments
were disregarded by the court.” Hatten v. White, 2001 WL 476063, at *4 (D. Kan. Apr.
27, 2001). There is no reason here to doubt that this Court properly considered all of the
arguments presented in rendering its dismissal decision.
2
  Defendants’ motion to strike Plaintiff’s first supplemental filing was mooted by the
Court’s dismissal of the case. Cf. Pemberton v. Patton, 2015 WL 1638638, at *8 (W.D.
Okla. Apr. 13, 2015) (denying pending motions “as moot” upon “dismissal of th[e]
action”). Nonetheless, Plaintiff proceeded to file a “reply in opposition” to the motion to
strike on February 13, 2019 (Doc. No. 32)—two weeks after the Court dismissed his case.
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filing (Doc. No. 28), the extrinsic fact materials Plaintiff relies upon are irrelevant to his

jurisdictional arguments in any event.

                                      CONCLUSION

       For the foregoing reasons, Plaintiff’s Motion to Amend should be denied.

 Dated: March 20, 2019


                                         Respectfully submitted,
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                             CERTIFICATE OF SERVICE

       I hereby certify that on March 20, 2019, I authorized the electronic filing of the

foregoing with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel registered for ECF.



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